Case 2:05-cr-20018-SH|\/| Document 39 Filed 08/22/05 Page 1 of 2 Page|D 47

 

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FoR THE wEsTERN DISTRICT oF TENNESSEE
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UNITED STATES oF AMERICA, ) '” MHM
}
Plaintiff, )
)
vs. ) CR. No. 05-20018~Ma
)
ROJARD LAKE, )
sTEvE cooPER, }
)
Defendants. )

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELA'Y

 

This cause came on for a report date on. July 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the Case.

The Court granted the request and continued the trial to the
rotation docket beginning October 3, 2005 at 9:30 a.m., with a
report date of Friday, September 23, 2005 at 2:00 p.m.

The period from July 22, 2005 through October 14, 2005 is
excludable under 18 U.S.C. § 3l6l(h)(8)(B)(iV) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this 124 day of August, 2005.

J¢/’WL\

SAMUEL H. M.AYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 39 in
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Honorable Samuel Mays
US DISTRICT COURT

